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                                                                                      United States District Court
                                                                                        Southern District of Texas

                                                                                           ENTERED
                      UNITED STATES DISTRICT COURT                                        March 02, 2022
                  FOR THE SOUTHERN DISTRICT OF TEXAS                                    Nathan Ochsner, Clerk
                              VICTORIA DIVISION
__________________________________________
                                           )
STATE OF TEXAS, STATE OF                   )
LOUISIANA                                  )
                                           )
                        Plaintiffs,        )
      v.                                   )  No. 6:21-cv-00016
                                           )
UNITED STATES OF AMERICA, et al.           )
                                           )
                        Defendants.        )
__________________________________________)

                                                     ORDER
       A two-day bench trial concluded in this case on February 24, 2022. This Court ORDERS

the following deadlines for post-trial submissions:

               a. No later than March 18, 2022, the Parties shall separately file Proposed

                   Findings of Fact and Conclusions of Law. In their Proposed Findings of Fact

                   and Conclusions of Law, the Parties shall denote any evidence outside of the

                   administrative record on which they seek to rely for purposes other than

                   standing or remedy. The Parties may file any post-trial motions and memoranda

                   of law no later than this date.

               b. No later than April 1, 2022, the Parties shall file any responses to any post-trial

                   motions and memoranda of law. The Parties shall also file by April 1, 2022, any

                   objections to the use of any evidence outside of the administrative record. This

                   will close any post-trial briefing.


       It is SO ORDERED.

                   2nd of ________________,
       Signed this ___      March           2022.
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                                       ________________________________
                                                Drew B. Tipton
                                       UNITED STATES DISTRICT JUDGE
